Case 2:20-cv-05013-DMG-JPR Document 17 Filed 10/08/21 Page 1 of 1 Page ID #:131




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 8                              UNITED STATES DISTRICT COURT
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                               CENTRAL DISTRICT OF CALIFORNIA
10
     ELIZABETH BUCKLY,                              Case No.: CV 20-5013-DMG (JPRx)
11
                                                    ORDER RE DISMISSAL AS TO
12                Plaintiff,                        DEFENDANT SOUTHWEST
13
                                                    AIRLINES CO. WITH PREJUDICE
                  vs.                               [16]
14
15   SOUTHWEST AIRLINES,
16
                  Defendant.
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18
19         Pursuant to the Stipulation Re Dismissal as to Defendant Southwest Airlines Co.
20   (“Southwest Airlines”) by Southwest Airlines and Plaintiff Elizabeth Buckly,
21         IT IS HEREBY ORDERED that Southwest Airlines is dismissed from this action
22   with prejudice. Because Southwest Airlines is the only defendant, the above-captioned
23   action is dismissed in its entirety, with prejudice. All scheduled dates and deadlines are
24   VACATED.
25
26   DATED: October 8, 2021                        ________________________________
                                                   DOLLY M. GEE
27
                                                   UNITED STATES DISTRICT JUDGE
28


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